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                             Nebraska Court of Appeals Advance Sheets
                                  28 Nebraska Appellate Reports
                                                 STATE v. MADREN
                                                Cite as 28 Neb. App. 533



                                        State of Nebraska, appellee, v.
                                         James M. Madren, appellant.
                                                    ___ N.W.2d ___

                                          Filed June 23, 2020.    No. A-19-240.

                 1. Motions for Mistrial: Appeal and Error. Decisions regarding motions
                    for mistrial are directed to the discretion of the trial court, and will be
                    upheld in the absence of an abuse of discretion.
                 2. Motions for New Trial: Appeal and Error. The standard of review for
                    the denial of a motion for new trial is whether the trial court abused its
                    discretion in denying the motion.
                 3. Trial: Witnesses: Appeal and Error. To establish reversible error due
                    to a violation of a sequestration order, a defendant must make a showing
                    of prejudice.
                 4. Rules of Evidence: Appeal and Error. Where the Nebraska Evidence
                    Rules commit the evidentiary question at issue to the discretion of the
                    trial court, an appellate court reviews the admissibility of evidence for
                    an abuse of discretion.
                 5. Judgments: Words and Phrases. An abuse of discretion occurs when a
                    trial court’s decision is based upon reasons that are untenable or unrea-
                    sonable or if its action is clearly against justice or conscience, reason,
                    and evidence.
                 6. Convictions: Evidence: Appeal and Error. In reviewing a criminal
                    conviction for a sufficiency of the evidence claim, whether the evidence
                    is direct, circumstantial, or a combination thereof, the standard is the
                    same: An appellate court does not resolve conflicts in the evidence, pass
                    on the credibility of witnesses, or reweigh the evidence; such matters
                    are for the finder of fact. The relevant question for an appellate court
                    is whether, after viewing the evidence in the light most favorable to the
                    prosecution, any rational trier of fact could have found the essential ele-
                    ments of the crime beyond a reasonable doubt.
                 7. Sentences: Appeal and Error. An appellate court will not disturb a sen-
                    tence imposed within the statutory limits absent an abuse of discretion
                    by the trial court.
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          Nebraska Court of Appeals Advance Sheets
               28 Nebraska Appellate Reports
                            STATE v. MADREN
                           Cite as 28 Neb. App. 533
 8. Effectiveness of Counsel: Appeal and Error. Whether a claim of inef-
    fective assistance of trial counsel may be determined on direct appeal is
    a question of law.
 9. ____: ____. In reviewing claims of ineffective assistance of counsel on
    direct appeal, an appellate court decides only whether the undisputed
    facts contained within the record are sufficient to conclusively deter-
    mine whether counsel did or did not provide effective assistance and
    whether the defendant was or was not prejudiced by counsel’s alleged
    deficient performance.
10. Motions for Mistrial: Appeal and Error. The decision whether to
    grant a motion for mistrial is within the trial court’s discretion and will
    not be disturbed on appeal in the absence of an abuse of discretion.
11. Motions for New Trial: Appeal and Error. A trial court’s denial of a
    motion for new trial is reviewed for an abuse of discretion.
12. Trial: Juries. Although the presence of a discharged alternate juror in
    the jury room constitutes an unwarranted intrusion upon the jury and is
    to be guarded against, not every such intrusion requires a new trial.
13. Effectiveness of Counsel: Postconviction: Records: Appeal and
    Error. When a defendant’s trial counsel is different from his or her
    counsel on direct appeal, the defendant must raise on direct appeal any
    issue of trial counsel’s ineffective performance which is known to the
    defendant or is apparent from the record. Otherwise, the issue will be
    procedurally barred in a subsequent postconviction proceeding.
14. Effectiveness of Counsel: Records: Appeal and Error. The fact that
    an ineffective assistance of counsel claim is raised on direct appeal does
    not necessarily mean that it can be resolved. The determining factor is
    whether the record is sufficient to adequately review the question.
15. Effectiveness of Counsel: Proof. Generally, to prevail on a claim of
    ineffective assistance of counsel under Strickland v. Washington, 466
    U.S. 668, 104 S. Ct. 2052, 80 L. Ed. 2d 674 (1984), the defendant must
    show that his or her counsel’s performance was deficient and that this
    deficient performance actually prejudiced the defendant’s defense.
16. ____: ____. To show that counsel’s performance was deficient, a defend­
    ant must show that counsel’s performance did not equal that of a lawyer
    with ordinary training and skill in criminal law.
17. ____: ____. To show prejudice, the defendant must demonstrate a rea-
    sonable probability that but for counsel’s deficient performance, the
    result of the proceeding would have been different.
18. Words and Phrases. A reasonable probability is a probability sufficient
    to undermine confidence in the outcome.
19. Trial: Effectiveness of Counsel: Presumptions: Appeal and Error. In
    determining whether trial counsel’s performance was deficient, there is
    a strong presumption that counsel acted reasonably.
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          Nebraska Court of Appeals Advance Sheets
               28 Nebraska Appellate Reports
                             STATE v. MADREN
                            Cite as 28 Neb. App. 533
20. Postconviction: Effectiveness of Counsel: Records: Appeal and
    Error. In the case of an argument presented for the purpose of avoiding
    procedural bar to a future postconviction action, appellate counsel must
    present the claim with enough particularity for (1) an appellate court to
    make a determination of whether the claim can be decided upon the trial
    record and (2) a district court later reviewing a petition for postconvic-
    tion relief to be able to recognize whether the claim was brought before
    the appellate court.
21. Rules of Evidence: Hearsay: Sexual Assault: Minors. Statements
    made by a child victim of sexual abuse to a forensic interviewer in
    the chain of medical care may be admissible under Neb. Rev. Stat.
    § 27-803(3) (Reissue 2016), even though the interview has the partial
    purpose of assisting law enforcement’s investigation of the crimes.
22. Rules of Evidence: Hearsay: Police Officers and Sheriffs. The fun-
    damental inquiry to determine whether statements, made by a declarant
    who knew law enforcement was listening, had a medical purpose is
    if the challenged statement has some value in diagnosis or treatment,
    because the patient would still have the requisite motive for providing
    the type of sincere and reliable information that is important to that
    diagnosis and treatment.
23. Sentences: Appeal and Error. Where a sentence imposed within the
    statutory limits is alleged on appeal to be excessive, the appellate court
    must determine whether a sentencing court abused its discretion in con-
    sidering and applying the relevant factors as well as any applicable legal
    principles in determining the sentence to be imposed.
24. Sentences. In determining a sentence to be imposed, relevant factors
    customarily considered and applied are the defendant’s (1) age, (2) men-
    tality, (3) education and experience, (4) social and cultural background,
    (5) past criminal record or record of law-abiding conduct, and (6) moti-
    vation for the offense, as well as (7) the nature of the offense and (8) the
    amount of violence in the commission of the crime.
25. ____. The appropriateness of a sentence is necessarily a subjective judg-
    ment and includes the sentencing judge’s observation of the defendant’s
    demeanor and attitude and all the facts and circumstances surrounding
    the defendant’s life.

   Appeal from the District Court for Douglas County: James
T. Gleason, Judge. Affirmed.

  Peder Bartling, of Bartling Law Offices, P.C., L.L.O., for
appellant.
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
                       STATE v. MADREN
                      Cite as 28 Neb. App. 533
  Douglas J. Peterson, Attorney General, and Siobhan E.
Duffy for appellee.
  Moore, Chief Judge, and Arterburn and Welch, Judges.
  Welch, Judge.
                      I. INTRODUCTION
   James M. Madren was convicted by a jury of first degree
sexual assault. Madren argues the trial court erred in failing to
timely discharge an alternate juror, allowing evidence in con-
tradiction to the court’s previous in limine and sequestration
orders, accepting the jury’s verdict without sufficient evidence
to convict him, and imposing an excessive sentence. He also
argues that his counsel was constitutionally deficient and that
an aggregate of error warrants a reversal. We affirm his convic-
tion and sentence.
                 II. STATEMENT OF FACTS
   Madren was charged with one count of first degree sexual
assault, a Class II felony. Specifically, the State alleged that
Madren, being a person 19 years of age or older, subjected
L.O., a person at least 12 years of age but less than 16 years of
age, to sexual penetration. The evidence adduced at trial estab-
lished that Madren was born in August 1981 and that L.O. was
born in January 2003.
   In May or June 2017, L.O.’s father allowed Madren, a
longtime friend who needed a place to live, to temporarily
reside with his family. After Madren moved into the fam-
ily home, Madren and L.O. began spending time together,
including watching movies or preparing meals for L.O. and
her brothers. L.O. testified that Madren eventually asked her
if she would be his girlfriend and that she agreed. L.O. also
testified Madren began privately referring to L.O. as “‘baby’”
and began hugging and kissing her and touching her thighs,
legs, and shoulders over her clothes. L.O. testified that she and
Madren had sexual intercourse during her freshman year of
high school. At that time, L.O. was 14 years old and Madren
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
                       STATE v. MADREN
                      Cite as 28 Neb. App. 533
was 36 years old. Madren moved out of the family home in
November 2017.
   The State also offered into evidence text messages between
Madren and L.O., including pictures Madren sent to L.O. while
he was out of town. After L.O.’s mother discovered the nature
of L.O.’s relationship with Madren, including L.O.’s admission
that she and Madren had sexual intercourse, the incidents were
reported to the police and L.O. was eventually interviewed by
staff at Project Harmony, a child advocacy center.
   During the trial, over Madren’s “foundation” objection,
L.O.’s mother testified that after L.O. received counseling at
Project Harmony, she sought treatment for L.O. at the recom-
mendation of L.O.’s therapist, including having L.O. taken in
for further evaluation and a medical evaluation that was in
process. L.O.’s mother was allowed to testify about her obser-
vations of how L.O.’s condition affects L.O.’s daily life, which
observations included that L.O. took long periods of time to
process information; that L.O. struggled with comprehension
at school; and that when confronted with questions, she would
delay before answering due to her limitations in processing.
L.O.’s mother was not allowed to testify as to any specific
medical diagnosis for L.O.
   Following L.O.’s mother’s testimony, a brief recess was
taken prior to L.O.’s testimony. During the recess, L.O.’s
mother spoke with L.O. in the courthouse rotunda while
the two embraced and cried. Due to concern expressed by
Madren’s counsel that the interaction was seen by some jurors,
the judge informed the jury that during the recess, there was an
interaction between L.O.’s mother and L.O. in the rotunda, and
the court inquired if anyone had seen it. When certain jurors
responded they had seen the interaction, the court inquired as
to whether anything about the interaction would impact their
decision on the evidence received in the courtroom as to which
all the jurors stated it would not.
   After closing arguments, the case was submitted to the
jury. However, about 1 hour after the case was submitted to
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
                        STATE v. MADREN
                       Cite as 28 Neb. App. 533
the jury, Madren’s counsel advised the court that it had failed
to discharge the alternate juror. As a result, the court informed
the jury it had failed to remove the alternate juror, apprised the
alternate juror that she was the alternate, and then dismissed
her. The district court then instructed the jury to again refer to
the instructions and asked the jury to start deliberating again
“from scratch.” The court stated it did not want to inquire to
what extent the jury had communicated back and forth, but that
because of the presence of the alternate, the jurors needed to
begin deliberations as if they started then and without the alter-
nate. Upon being asked if that made sense, the jurors responded
affirmatively. After the jury was sent back to the jury room to
deliberate, Madren’s counsel moved for a mistrial on the basis
of the court’s delayed discharge of the alternate juror, which
motion was overruled by the court. The jury convicted Madren
of first degree sexual assault.
   After the jury returned its verdict, the district court again
addressed the jury regarding the alternate juror. Specifically,
the court inquired whether the jury, in reaching the verdict, had
considered any conversations or participation of the alternate
juror while she was in the room, to which the jurors responded
in the negative. Madren filed a motion for new trial, which
included allegations that L.O. and her mother were observed
crying and embracing following L.O.’s mother’s testimony,
these activities were viewed by the jury, and the viewing of
said activities by members of the jury was unfairly prejudi-
cial to Madren and prevented him from having a fair trial.
Madren’s motion for new trial was overruled. The district court
sentenced Madren to 30 to 38 years’ imprisonment with credit
for 358 days served.

               III. ASSIGNMENTS OF ERROR
   Madren’s assignments of error, restated and renumbered,
are as follows: (1) The court erred in overruling his motion
for mistrial and motion for new trial on the court’s delayed
discharge of the alternate juror, (2) the court erred in failing
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
                       STATE v. MADREN
                      Cite as 28 Neb. App. 533
to enforce its order in limine, (3) the court erred in failing to
enforce its sequestration order, (4) the record contains insuf-
ficient evidence to convict Madren of violating Neb. Rev. Stat.
§ 28-319(1)(c) (Reissue 2016), (5) Madren received ineffective
assistance of counsel at trial in various ways, (6) the accu-
mulation of errors requires a reversal of his conviction and a
remand of the cause for new trial, and (7) the sentence imposed
was excessive.

                 IV. STANDARD OF REVIEW
   [1,2] Decisions regarding motions for mistrial are directed
to the discretion of the trial court, and will be upheld in the
absence of an abuse of discretion. State v. Briggs, 303 Neb.
352, 929 N.W.2d 65 (2019). The standard of review for the
denial of a motion for new trial is whether the trial court
abused its discretion in denying the motion. Id.   [3] To establish reversible error due to a violation of a
sequestration order, a defendant must make a showing of
prejudice. State v. Cottingham, 226 Neb. 270, 410 N.W.2d
498 (1987).
   [4,5] Where the Nebraska Evidence Rules commit the evi-
dentiary question at issue to the discretion of the trial court,
an appellate court reviews the admissibility of evidence for an
abuse of discretion. State v. Briggs, supra. An abuse of discre-
tion occurs when a trial court’s decision is based upon reasons
that are untenable or unreasonable or if its action is clearly
against justice or conscience, reason, and evidence. Id.   [6] In reviewing a criminal conviction for a sufficiency of
the evidence claim, whether the evidence is direct, circum-
stantial, or a combination thereof, the standard is the same: An
appellate court does not resolve conflicts in the evidence, pass
on the credibility of witnesses, or reweigh the evidence; such
matters are for the finder of fact. State v. Smith, 302 Neb. 154,
922 N.W.2d 444 (2019). The relevant question for an appellate
court is whether, after viewing the evidence in the light most
favorable to the prosecution, any rational trier of fact could
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
                        STATE v. MADREN
                       Cite as 28 Neb. App. 533
have found the essential elements of the crime beyond a rea-
sonable doubt. Id.
   [7] An appellate court will not disturb a sentence imposed
within the statutory limits absent an abuse of discretion by the
trial court. Id.
   [8,9] Whether a claim of ineffective assistance of trial coun-
sel may be determined on direct appeal is a question of law.
State v. Mrza, 302 Neb. 931, 926 N.W.2d 79 (2019). In review-
ing claims of ineffective assistance of counsel on direct appeal,
an appellate court decides only whether the undisputed facts
contained within the record are sufficient to conclusively deter-
mine whether counsel did or did not provide effective assist­
ance and whether the defendant was or was not prejudiced by
counsel’s alleged deficient performance. Id.
                          V. ANALYSIS
                       1. Alternate Juror
   [10,11] Madren first argues the court erred in overruling his
motion for mistrial and later his motion for new trial relating
to the court’s late discharge of the alternate juror. The deci-
sion whether to grant a motion for mistrial is within the trial
court’s discretion and will not be disturbed on appeal in the
absence of an abuse of discretion. State v. Aguilar, 268 Neb.
411, 683 N.W.2d 349 (2004). Likewise, a trial court’s denial
of a motion for new trial is reviewed for an abuse of discre-
tion. See State v. Briggs, supra. In either case, we must now
determine whether the trial court abused its discretion in not
granting Madren’s motions for failing to timely discharge the
alternate juror.
   [12] The legal framework for a court’s failure to discharge
an alternate juror was discussed at length by the Nebraska
Supreme Court in State v. Menuey, 239 Neb. 513, 476 N.W.2d
846 (1991). After reviewing the constitutional and statutory
rights to a 12-person jury in relation to a court’s late discharge
of an alternate juror, the Supreme Court held:
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   Nebraska Court of Appeals Advance Sheets
        28 Nebraska Appellate Reports
                   STATE v. MADREN
                  Cite as 28 Neb. App. 533
   There can thus be no question that the bailiff’s inex-
plicable misconduct violated defendant’s federal and state
constitutional rights to a fair and impartial trial. The con-
trolling question becomes whether that violation compels
reversal of his convictions.
   In Simants v. State, 202 Neb. 828, 277 N.W.2d 217(1979), the sheriff, who also testified as a material wit-
ness, fraternized with the jurors during sequestration.
The trial court found the communications unwarranted,
but ruled they did not rise to a level prejudicing the
accused. In reversing, this court observed that “when
an improper communication with a juror or jurors is
shown to have taken place in a criminal case, a rebut-
table presumption of prejudice arises and the burden is
on the State to prove that the communication was not
prejudicial,” id. at 835, 277 N.W.2d at 221, saying: “The
foundational basis for the rule of presumptive prejudice
is that a fair trial in a fair tribunal is a basic requirement
of constitutional due process. The reasons for the rule
have been variously expressed by the courts. ‘“The ver-
dict of a jury . . . should represent the concurring judg-
ment, reason and intelligence of the entire jury, free from
outside influence from any source whatever.”’ Bramlett
v. State, 129 Neb. 180, 261 N.W. 166 ([1935]).” Simants,
supra at 836-37, 277 N.W.2d at 222. The Simants court
also declared that the occurrence of unauthorized private
communications was forbidden and would invalidate the
verdict unless it was shown to be harmless error. In
other words, Simants concluded that not all errors, even
if of constitutional magnitude, entitle an accused to the
reversal of an adverse trial result; it is only a prejudi-
cial error, that is, an error which cannot be said to have
been harmless beyond a reasonable doubt, which requires
that a conviction be set aside. State v. Hartmann, [239
Neb.] 300, 476 N.W.2d 209 (1991); State v. Green, 238
Neb. 492, 471 N.W.2d 413 (1991); State v. Chapman,
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   Nebraska Court of Appeals Advance Sheets
        28 Nebraska Appellate Reports
                  STATE v. MADREN
                 Cite as 28 Neb. App. 533
234 Neb. 369, 451 N.W.2d 263 (1990); Chapman v.
California, 386 U.S. 18, 87 S. Ct. 824, 17 L. Ed. 2d 705(1967). See, also, State v. McDonald, 230 Neb. 85, 430
N.W.2d 282 (1988).
   State v. LeBron, 217 Neb. 452, 349 N.W.2d 918 (1984),
applied the same doctrine in determining that LeBron had
not been prejudiced by the fact that two jurors had over-
heard the judge and his law clerk discussing the case. See,
also, Sunderland v. United States, 19 F.2d 202 (8th Cir.
1927) (juror conversing with witness).
   In Gandy v. State, 24 Neb. 716, 40 N.W. 302 (1888),
the court officer having charge of the jury sat in on a
portion of the jury’s deliberations. The Gandy court, in
following People v. Knapp, 42 Mich. 267, 3 N.W. 927(1879), adopted the rule that the officer’s mere presence
in the jury room deprived the jury of the opportunity for
private and confidential discussion and was thus grounds
for automatic reversal. In so holding, this court wrote in
Gandy, supra at 727, 40 N.W. at 306: “It is the policy of
the law that the verdict of every jury shall be reached by
free and deliberate consultation, without bias or prejudice,
and be based upon the evidence. The evidence is to be
carefully weighed, the instructions to the court consid-
ered, and a conclusion reached which shall satisfy each
member of the jury. This can only be had by preventing
an intrusion for any considerable time by the bailiff, or
others, while the jury are considering their verdict.”
   The same view was reiterated in Cooney v. State, 61
Neb. 342, 85 N.W. 281 (1901), wherein the sheriff and
officer having charge of the jury remained with the jury
during several hours of deliberations. The Cooney court
found that while neither party participated nor advised
the jury in any manner, their presence had deprived
Cooney of a substantial right. However, the Cooney court
noted that “the presence of” a court officer “or other
intruder in the jury room for a short time while the jury
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
                       STATE v. MADREN
                      Cite as 28 Neb. App. 533
     are deliberating, will [not] in every case vitiate the ver-
     dict rendered . . . .” Id. at 344, 85 N.W. at 282. The
     Cooney court thus recognized that not every intrusion
     into the jury room automatically results in prejudice to an
     accused. It is only those intrusions which result in preju-
     dice to an accused, that is, intrusions into the jury room
     by third parties of a nature which cannot be said to have
     been harmless beyond a reasonable doubt, which require
     that a conviction be set aside.
         The presence in the jury room of a discharged alter-
     nate juror is qualitatively different from the presence
     of a court officer or of a law enforcement officer, as
     occurred in Gandy and Cooney. A court officer might be
     expected to be present to monitor the jury’s discussions
     for some purpose of the court; the presence of a law
     enforcement officer could be expected to inhibit criticism
     of the State’s case. The presence of both a court officer
     and a law enforcement officer increases the inhibitory
     effect. However, a discharged alternate juror represents
     neither the State nor the court. Thus, although the pres-
     ence of such an alternate in the jury room constitutes an
     unwarranted intrusion upon the jury and is to be guarded
     against, not every such intrusion requires a new trial.
State v. Menuey, 239 Neb. 513, 521-24, 476 N.W.2d 846, 852-
53 (1991).
   Based upon the conclusion that an alternate juror’s presence
only requires a new trial if that juror’s presence prejudiced the
defendant, the Nebraska Supreme Court went on to explore
what evidence the court could rightfully consider in determin-
ing whether prejudice ensued from the alternate juror’s pres-
ence and whether any such prejudice resulted in that case. In
doing so, the Supreme Court held:
         Neb. Rev. Stat. § 27-606(2) (Reissue 1989) provides
     that a juror may not be questioned about any “matter
     or statement occurring during the course of the jury’s
     deliberations,” but may testify regarding whether any
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
                        STATE v. MADREN
                       Cite as 28 Neb. App. 533
      “outside influence was improperly brought to bear upon
      any juror.” In State v. Roberts, 227 Neb. 489, 493, 418
      N.W.2d 246, 249 (1988), we held that § 27-606(2) “con-
      trols inquiries into the validity of a verdict reached by a
      jury.” The trial judge in State v. LeBron, 217 Neb. 452,
      349 N.W.2d 918 (1984), upon discovering the overheard
      conversation described . . . above, examined the jurors
      to determine whether they were nonetheless capable of
      rendering a fair and impartial verdict and, in refusing
      to declare a mistrial, concluded that there was no preju-
      dice to LeBron. We affirmed. The Missouri courts have
      also found convincing affidavits by jurors establishing
      that they were not influenced by a discharged alternate
      juror’s presence. State v. Scrivner, 676 S.W.2d 12 (Mo.
      App. 1984).
Menuey, 239 Neb. at 524, 476 N.W.2d at 853-54.
   Based upon uncontradicted testimony from the jurors that
the alternate juror’s presence did not influence them, the court
in Menuey ultimately concluded that the alternate juror’s pres-
ence did not prejudice the defendant and that such presence of
the alternate juror did not require a new trial.
   Similar to Menuey, here, the district court discovered that it
failed to discharge the alternate juror after allowing the jury to
begin deliberations. Once the error was brought to the court’s
attention after about 1 hour, the court interrupted the jury,
discharged the alternate, and instructed the jury to start over
“from scratch” with its deliberations and to refer to the instruc-
tions governing the jury’s duties. In addition, after the jury
returned its verdict, the court again addressed the matter with
the jury stating:
      Ladies and Gentlemen, I’m going to make additional
      inquiry for the purposes of the record. And this is because
      I had erroneously allowed [the alternate juror] to remain
      with you. I asked you when you went back after I
      excused [the alternate juror] to commence your delibera-
      tions anew as if starting from scratch. I will ask you, did
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
                        STATE v. MADREN
                       Cite as 28 Neb. App. 533
      any one of you in reaching your verdict consider any of
      the conversations or participation of [the alternate juror]
      while she was with you in the jury room? If any of you
      did, please let me know.
         (No audible response.)
         THE COURT: None of the jurors having responded,
      the record will show that this is a unanimous verdict of
      this jury. Judgment will be rendered on the verdict.
   Pursuant to Neb. Rev. Stat. § 27-606(2) (Reissue 2016),
the court was allowed to inquire and did inquire into whether
“any outside influence was improperly brought to bear upon
any juror” in relation to the alternate juror, and the uncontra-
dicted evidence establishes that the alternate’s presence did not
influence the jury deliberations and did not prejudice Madren.
Accordingly, the court did not abuse its discretion in overruling
Madren’s motion for mistrial or motion for new trial in connec-
tion with the court’s original error in failing to timely discharge
the alternate juror.

                      2. Order in Limine
   Madren next assigns that the district court erred in failing
to enforce its order with respect to Madren’s motion in limine.
More specifically, before the commencement of trial, Madren
made an oral motion in limine to prohibit the State from offer-
ing any evidence regarding L.O.’s diagnosis of autism. In
support of that motion, Madren argued that the State had not
endorsed any witness who could offer a medical opinion of
that nature and that persons associated with Project Harmony
had not met with L.O. long enough to establish any kind of
diagnosis. In response, the State expressed it intended to offer
evidence from L.O.’s mother governing her observations of
L.O.’s problems with comprehension and delays in responding
as those issues might relate to her ability to testify, but that
it did not intend to offer evidence of a diagnosis of the cause
of her condition which was still being studied. The court sus-
tained the motion only to the extent that the court prohibited
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             28 Nebraska Appellate Reports
                       STATE v. MADREN
                      Cite as 28 Neb. App. 533
the mother from identifying the diagnosis, but found that the
mother was free to describe the conditions she observed which
led her to have her daughter tested.
   At trial, when the victim’s mother began to describe the
conditions which led her to have her daughter seek medical
assistance, Madren’s counsel objected by stating, “[I] [a]sk
for a continuing objection regarding any testimony regarding
any kind of diagnosis for lack of foundation pursuant to the
Court’s ruling.” The continuing objection was granted. L.O.’s
mother went on to describe the problems she had observed
with her daughter with concentration and mental processing
and that she was now seeking medical assistance in relation
to the conditions, but L.O.’s mother did not offer any kind of
diagnosis consistent with the court’s ruling. Madren’s objec-
tion here is that the court erred in not enforcing its prior
ruling; however, the record very clearly indicates the court’s
trial rulings were consistent with its pretrial ruling. Because
L.O.’s mother never provided nor attempted to provide a
diagnosis in a manner inconsistent with the court’s order in
limine or counsel’s specific objection at trial, this assignment
of error fails.

                    3. Sequestration Order
   Madren similarly argues the district court failed to enforce
its sequestration order in relation to L.O. and her mother.
Again, the record clearly indicates the court issued a sequestra-
tion order directing the jury that any witness who was going
to testify at trial could not be present when another witness
testified nor were they allowed to discuss testimony among
themselves.
   Madren argues that following L.O.’s mother’s testimony and
during a break, L.O.’s mother and L.O. were seen hugging and
crying outside the courtroom in the rotunda and jurors saw
the exchange. Madren argues that this was a violation of the
sequestration order and moved for a mistrial which was subse-
quently overruled by the court.
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                       STATE v. MADREN
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   As we previously noted, the decision whether to grant a
motion for mistrial is within the trial court’s discretion and
will not be disturbed on appeal in the absence of an abuse of
discretion. State v. Aguilar, 268 Neb. 411, 683 N.W.2d 349(2004). Here, contrary to Madren’s argument, there is no evi-
dence that L.O. or her mother were discussing the mother’s
trial testimony in violation of the court’s specific sequestra-
tion order and the prosecutor’s very specific admonition to
L.O. and her mother not to discuss it. The record reflects
only an emotional exchange between L.O. and her mother
in the rotunda following the mother’s testimony. Following
the interaction and Madren’s counsel’s voiced concerns that
members of the jury saw the interaction, the court asked the
specific jurors who acknowledged they saw the exchange, “Is
there anything about that interaction that’s going to affect your
decision on the evidence received here in the courtroom?” The
jurors responded, “‘No.’” Because the record does not reflect
a violation of the sequestration order and because of the trial
court’s specific inquiry and the response of the jurors relating
to the interaction, we cannot say the court abused its discre-
tion in failing to grant a mistrial because of this interaction
between L.O. and her mother during the trial. This assignment
of error fails.
                  4. Insufficiency of Evidence
   Madren next argues that there was insufficient evidence
offered at trial to convict him of violating § 28-319(1)(c).
   Section 28-319 provides, in relevant part:
     Any person who subjects another person to sexual pen-
     etration (a) without the consent of the victim, (b) who
     knew or should have known that the victim was mentally
     or physically incapable of resisting or appraising the
     nature of his or her conduct, or (c) when the actor is nine-
     teen years of age or older and the victim is at least twelve
     but less than sixteen years of age is guilty of sexual
     assault in the first degree.
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                        STATE v. MADREN
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   Because the record clearly establishes that Madren was over
19 years of age and L.O. was between 12 and 16 years of age
at the time of the incident, this case against Madren was predi-
cated on whether Madren subjected L.O. to sexual penetration
during that time. Although he recognizes that L.O. specifically
testified that Madren penetrated her vagina with his penis,
Madren argues:
      The record reflects that the State’s case against Madren
      was predicated on [L.O.’s] testimony that Madren had
      “sex” with her. . . . The record does not contain cor-
      roborative evidence—in the form of medical or testa-
      mentary evidence—that confirms or tends to confirm
      [L.O.’s] account. Madren acknowledges that, pursuant
      to § 29-2028, the State was not required to corroborate
      [L.O.’s] testimony; but, Madren contends that, alone,
      [L.O.’s] self-proving testimony regarding the mate-
      rial facts related to the elements of § 28-319(1)(c)—in
      light of her admission on the witness stand that she
      lied regarding the number of times that said sex alleg-
      edly occurred and in light of her inability to identify
      when said sex allegedly occurred—was insufficient evi-
      dence upon which the trier of fact could rely to deter-
      mine beyond a reasonable doubt that Madren violated
      § 28-319(1)(c).
Brief for appellant at 26. Stated differently, Madren’s argument
is that due to L.O.’s lack of credibility, her testimony should be
discounted and his conviction set aside.
   Yet, as our Supreme Court has continually stated:
         In reviewing a criminal conviction for a sufficiency
      of the evidence claim, whether the evidence is direct,
      circumstantial, or a combination thereof, the standard is
      the same: An appellate court does not resolve conflicts
      in the evidence, pass on the credibility of the witnesses,
      or reweigh the evidence; such matters are for the finder
      of fact. The relevant question for an appellate court is
      whether, after viewing the evidence in the light most
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      favorable to the prosecution, any rational trier of fact
      could have found the essential elements of the crime
      beyond a reasonable doubt.
State v. Dady, 304 Neb. 649, 667, 936 N.W.2d 486, 500-01
(2019).
   Here, although L.O. differed in her testimony with regard
to the number of times Madren had sexual intercourse with
her, she unequivocally and consistently testified that, while
in her bedroom, Madren penetrated her vagina with his penis
within the short period of time he lived with her family in
their home. We will not pass on the credibility of or reweigh
the evidence here. In viewing the evidence in the light most
favorable to the State, based upon L.O.’s testimony, we find a
rational trier of fact could have found the essential elements
of first degree sexual assault beyond a reasonable doubt.
Madren’s assignment of error fails.

             5. Ineffective Assistance of Counsel
   Madren next argues that his trial counsel was ineffective in
(1) failing to offer evidence in support of his motion for new
trial, (2) failing to object to incriminating “expert” testimony,
(3) eliciting incriminating evidence against Madren, and (4)
failing to object to hearsay testimony that established an ele-
ment of § 28-319(1)(c).
   [13-19] When a defendant’s trial counsel is different from
his or her counsel on direct appeal, the defendant must raise
on direct appeal any issue of trial counsel’s ineffective per­
form­ance which is known to the defendant or is apparent from
the record. Otherwise, the issue will be procedurally barred
in a subsequent postconviction proceeding. State v. Mrza, 302
Neb. 931, 926 N.W.2d 79 (2019). The fact that an ineffective
assistance of counsel claim is raised on direct appeal does
not necessarily mean that it can be resolved. The determining
factor is whether the record is sufficient to adequately review
the question. Id. Generally, to prevail on a claim of ineffec-
tive assistance of counsel under Strickland v. Washington,
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466 U.S. 668, 104 S. Ct. 2052, 80 L. Ed. 2d 674 (1984), the
defendant must show that his or her counsel’s performance was
deficient and that this deficient performance actually preju-
diced the defendant’s defense. State v. Mrza, supra. To show
that counsel’s performance was deficient, a defendant must
show that counsel’s performance did not equal that of a lawyer
with ordinary training and skill in criminal law. Id. To show
prejudice, the defendant must demonstrate a reasonable prob-
ability that but for counsel’s deficient performance, the result
of the proceeding would have been different. Id. A reasonable
probability is a probability sufficient to undermine confidence
in the outcome. Id. In determining whether trial counsel’s
perform­ance was deficient, there is a strong presumption that
counsel acted reasonably. Id.   Whether a claim of ineffective assistance of trial counsel
may be determined on direct appeal is a question of law. Id.In reviewing claims of ineffective assistance of counsel on
direct appeal, an appellate court decides only whether the
undisputed facts contained within the record are sufficient to
conclusively determine whether counsel did or did not provide
effective assistance and whether the defendant was or was not
prejudiced by counsel’s alleged deficient performance. State v.
Blaha, 303 Neb. 415, 929 N.W.2d 494 (2019). We now make
those determinations for each of Madren’s specific assignments
of error.

         (a) Trial Counsel’s Failing to Offer Evidence
                    in Motion for New Trial
   Madren first assigns that his trial counsel was deficient for
failing to offer evidence in connection with his motion for
new trial. In furtherance of this assignment of error, Madren
argues that pursuant to Neb. Rev. Stat. § 29-2101 (Reissue
2016), his trial counsel had the right to request a new trial,
did make such a motion for new trial, but then failed to pre­
sent evidence in support of said motion as is contemplated
in Neb. Rev. Stat. § 29-2102(1) (Reissue 2016). Although
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                        STATE v. MADREN
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Madren is correct in asserting that § 29-2102(1) provides that
“[t]he grounds set forth in subdivisions (2), (3), and (6) of
section 29-2101 shall be supported by affidavits showing the
truth of such grounds, and the grounds may be controverted
by affidavits,” he does not articulate what, if any, evidence
his trial counsel failed to produce to support any ground
for mistrial.
   [20] In connection with a claim of ineffective assistance, our
Supreme Court has stated:
         We hold that in the case of an argument presented
      for the purpose of avoiding procedural bar to a future
      postconviction action, appellate counsel must present the
      claim with enough particularity for (1) an appellate court
      to make a determination of whether the claim can be
      decided upon the trial record and (2) a district court later
      reviewing a petition for postconviction relief to be able
      to recognize whether the claim was brought before the
      appellate court.
State v. Abdullah, 289 Neb. 123, 132-33, 853 N.W.2d 858, 866
(2014). For instance, in Abdullah, the court held that an argu-
ment that counsel’s failure to call “‘at least two witnesses that
[the defendant] informed would be beneficial to his case’” was
a conclusory and general allegation lacking in specificity and
serves as “little more than a placeholder” resulting in a failure
to preserve it for a future postconviction action. 289 Neb. at
126-27, 133, 853 N.W.2d at 863, 867.
   Although Madren argues his counsel was deficient in fail-
ing to offer evidence at the motion for new trial in support
of his motion, he never articulates what evidence his counsel
should have submitted which would have made a difference.
Similar to the defendant’s argument of failing to call “wit-
nesses” in Abdullah, Madren’s argument that his trial coun-
sel’s failure to produce “evidence” in connection with his
posttrial motion without naming what, if any, evidence may
have supported it meets with the same result. This assignment
of error fails.
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                        STATE v. MADREN
                       Cite as 28 Neb. App. 533
              (b) Trial Counsel’s Failing to Object
                      to “Expert” Testimony
   Madren next assigns error to his trial counsel’s failure to
object to certain “incriminating ‘expert’ testimony to explain
deficiencies in [the State’s] case.” Brief for appellant at 32.
Specifically, Madren cites to the testimony of L.O.’s mother
where she explains her observations of L.O., including L.O.’s
difficulties in processing information for which the mother
has now sought medical attention and was waiting on a diag-
nosis; the general testimony of a mental health coordinator at
Project Harmony, Tiffany Lassek, who testified generally about
delayed disclosures of assault by children; and testimony of
an Omaha police officer, who likewise testified about delayed
sexual assault disclosures by children.
   In support of his contentions, Madren argues that Neb. Rev.
Stat. § 27-702 (Reissue 2016) states: “If scientific, technical,
or other specialized knowledge will assist the trier of fact to
understand the evidence or to determine a fact in issue, a wit-
ness qualified as an expert by knowledge, skill, experience,
training, or education, may testify thereto in the form of an
opinion or otherwise.” He then argues that pursuant to State v.
Tolliver, 268 Neb. 920, 689 N.W.2d 567 (2004), in Nebraska,
a trial court’s evaluation of expert testimony involves a
four-step process, which involves determining whether the
expert witness is qualified, whether the expert’s reasoning
or methodology is scientifically valid and reliable, whether
the reasoning or methodology has been properly applied in
the case, and whether the opinions are more probative than
prejudicial.
   After setting forth that criteria, Madren generally argues that
with respect to the above-cited persons and testimony:
         Madren’s trial counsel did not demand that the State
      qualify any individual as an expert nor did counsel object
      regarding the proffering of expert testimony. [Madren]
      suffered actual prejudice due to counsel’s lack of perform­
      ance because the State, in its closing argument, relied
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      extensively on opinion evidence to argue that the jury
      should convict Madren.
Brief for appellant at 32.
   We find that the record is sufficient to review these assign-
ments of error. First, as to L.O.’s mother’s testimony, she
simply testified as to her observations of L.O.’s difficulties
in proc­essing information for which the mother was seeking
medical attention. As we discussed above, L.O.’s mother never
offered an opinion as to what was causing her daughter’s issues
or a diagnosis of any condition. Accordingly, L.O.’s mother’s
testimony was not expert testimony, and Madren’s trial coun-
sel was not deficient for failing to object to her testimony on
that basis.
   Regarding Lassek, Madren’s specific objection relates to
her general testimony governing why victims of sexual assault
sometimes delay reporting the incident to authorities. Her testi-
mony was not specific to L.O. As to Madren’s specific assign-
ment of error, the record demonstrates Lassek was qualified
to issue that general opinion, and Madren fails to provide any
specifics on why that general opinion should have been further
challenged and on what basis.
   Finally, as to the police officer, Madren’s specific objection
likewise relates to her general testimony governing why sexual
assault victims sometimes delay in reporting the incident to
authorities. Her testimony was not specific to L.O. As to
Madren’s specific assignment of error, the record demonstrates
the police officer was qualified to issue that specific general
opinion, and Madren again fails to specifically articulate any
basis upon which this general opinion should have been further
challenged. This assignment of error fails.
          (c) Trial Counsel’s Eliciting Incriminating
                    Evidence Against Client
   Madren next challenges his counsel’s line of question-
ing involving Lassek’s forensic interview of L.O. at Project
Harmony. During that questioning, the following colloquy
ensued between defense counsel and Lassek:
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                       STATE v. MADREN
                      Cite as 28 Neb. App. 533
         Q. Okay. Now, do you recall [L.O.] at any point dur-
      ing the interview prior to that break mentioning sexual
      penetration?
         A. I don’t believe so.
         Q. You don’t remember or you don’t think she did?
         A. I don’t think she did.
         Q. Okay. So you did ask a question afterwards as to
      whether or not his penis was on the inside or outside of
      her down below; is that right?
         A. I did.
         Q. Okay. And at that point, after meeting with law
      enforcement, specifically asking that question, then she
      said it was both; is that right?
         A. Correct.
         Q. Okay. So it wasn’t until after meeting with law
      enforcement that that question was asked, and it was only
      after that question was asked that anything was actually
      mentioned about sexual penetration; is that right?
         A. Ye[s].
   Madren argues that on direct examination by the State,
Lassek did not testify that L.O. reported to her that she was
sexually assaulted. Madren argues his counsel’s own line of
questioning on cross-examination opened the door to Lassek’s
testifying that L.O. told her she had been sexually penetrated.
In response, the State argues that “[t]he implication from
[Madren’s counsel’s] questions is that L.O. did not disclose
sexual penetration during the interview, and only did so at the
prompting of the interviewer,” and that the line of question-
ing represented a trial strategy or tactic which should not be
second-guessed by an appellate court. Brief for appellee at
27-28. Although we understand this argument, we note the
Nebraska Supreme Court’s statement governing a similar issue
in State v. McCulloch, 274 Neb. 636, 642-43, 742 N.W.2d 727,
732 (2007), wherein it held:
         We do not, and cannot, determine on direct appeal
      whether defense counsel elicited the evidence at issue
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      pursuant to a reasonable defense strategy because there
      has been no evidentiary hearing to present evidence
      regarding defense counsel’s strategy or lack thereof.
      While in hindsight it appears that defense counsel may
      have helped the State prove an element that the State may
      have failed to adequately prove, without an evidentiary
      hearing to explore defense counsel’s strategy, we cannot
      determine based solely on the record on direct appeal
      that defense counsel’s performance was deficient. Such
      a determination would require consideration of whether
      defense counsel’s actions were reasonable in the context
      of the trial.
   Here, we note L.O. separately testified that she was sexually
assaulted such that the testimony from Lassek does not provide
the only evidence of the sexual assault. Nevertheless, because
the record does not disclose whether eliciting this evidence was
a part of defense counsel’s strategy, we find the record is not
sufficient to reach this claim.
              (d) Trial Counsel’s Failing to Object
                      to Hearsay Testimony
   Madren’s final assignment of error is that his counsel failed
to object on hearsay grounds to certain testimony from a nurse
practitioner and program manager at Project Harmony. She
testified about her interview with L.O. at Project Harmony.
Specifically, she testified that L.O. told her she came to Project
Harmony because she was raped by “James,” a man in his
thirties who was living at their home, and that by “rape,” she
meant James placed his penis in her vagina. Madren argues that
this testimony was hearsay and that his trial counsel was inef-
fective for failing to object to it.
   In support of his assignment, Madren argues that his trial
counsel failed to put the State to the burden of satisfying Neb.
Rev. Stat. § 27-803(3) (Reissue 2016), which excepts from
the hearsay rule statements made for the purpose of medical
diagnosis or treatment. L.O.’s statements were made to the
nurse practitioner in connection with her interview of L.O. and
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as part of her function with Project Harmony. Madren does
not specifically articulate what, if any, deficiencies there were
with this testimony which would fail to qualify it for admis-
sion under § 27-803(3); instead, he simply argues his counsel
failed to put the evidence to the test.
   [21,22] Contrary to Madren’s assertions, the Nebraska
Supreme Court has stated: “‘[S]tatements made by a child
victim of sexual abuse to a forensic interviewer in [the chain
of medical care] may be admissible under [§ 27-]803(3) even
though the interview has the partial purpose of assisting law
enforcement’s investigation of the crimes.’” State v. Jedlicka,
297 Neb. 276, 286, 900 N.W.2d 454, 464 (2017), quoting State
v. Vigil, 283 Neb. 129, 810 N.W.2d 687 (2012). The Nebraska
Supreme Court further held:
      [T]he fundamental inquiry to determine whether state-
      ments, made by a declarant who knew law enforcement
      was listening, had a medical purpose is “‘[i]f the chal-
      lenged statement has some value in diagnosis or treatment,
      [because] the patient would still have the requisite motive
      for providing the type of “sincere and reliable” informa-
      tion that is important to that diagnosis and treatment.’”
Id., 297 Neb. at 286-87, 900 N.W.2d at 464.
   As to Madren’s nondescript argument that his trial counsel
was ineffective for failing to object to the nurse practition­
er’s testimony on hearsay grounds, we find the record is suf-
ficient to address this assignment of error. Specifically, we
find the record indicates that the interview was conducted
within the chain of medical care for L.O. and that the state-
ments were made with the intent to obtain a medical diag-
nosis or treatment for her. As such, any objection on hearsay
grounds would have been overruled and Madren’s counsel was
not insufficient in failing to object to it. This assignment of
error fails.
                6. Accumulation of Errors
   Madren’s next assignment of error is that the accumulation
of errors mentioned above were not harmless and that, taken
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together, they demonstrate he did not receive a fair trial. Yet,
as we have already explained, Madren’s assigned errors were
lacking in merit and only one claimed error of ineffective
assistance of counsel has been preserved. This assignment of
error fails.

                      7. Excessive Sentence
   Madren contends the court abused its discretion by imposing
an excessive sentence because the court failed to sufficiently
weigh the sentencing factors.
   [23-25] Where a sentence imposed within the statutory
limits is alleged on appeal to be excessive, the appellate court
must determine whether a sentencing court abused its discre-
tion in considering and applying the relevant factors as well
as any applicable legal principles in determining the sentence
to be imposed. State v. Smith, 302 Neb. 154, 922 N.W.2d 444(2019). In determining a sentence to be imposed, relevant fac-
tors customarily considered and applied are the defendant’s (1)
age, (2) mentality, (3) education and experience, (4) social and
cultural background, (5) past criminal record or record of law-
abiding conduct, and (6) motivation for the offense, as well as
(7) the nature of the offense and (8) the amount of violence
in the commission of the crime. Id. The appropriateness of a
sentence is necessarily a subjective judgment and includes the
sentencing judge’s observation of the defendant’s demeanor
and attitude and all the facts and circumstances surrounding the
defendant’s life. Id.   Madren was convicted of first degree sexual assault, which
is punishable by a minimum sentence of 1 year’s imprison-
ment and a maximum sentence of 50 years’ imprisonment. See
§ 28-319; Neb. Rev. Stat. § 28-105 (Reissue 2016). Madren
received a sentence of 30 to 38 years’ imprisonment, which
falls within the statutory sentencing range.
   At sentencing, the court noted it had considered the presen-
tence investigation report, in which Madren scored very high
in the categories measuring “Procriminal Attitude/Orientation
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and Antisocial Pattern.” Overall, Madren scored a 26, placing
him in the high risk category. After reviewing the record, we
conclude the district court did not consider any inappropriate
factors for Madren’s sentence. Thus, Madren cannot show the
court abused its discretion, and this assignment of error fails.
                       VI. CONCLUSION
   For the foregoing reasons, we affirm Madren’s conviction
and sentence. We further consider and reject Madren’s claims
of ineffective assistance of trial counsel with the exception of
his claim that his trial counsel was ineffective for opening the
door to Lassek’s testifying that L.O. told her that Madren sexu-
ally penetrated L.O., which we determine the record on direct
appeal is insufficient to address.
                                                     Affirmed.
